






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00784-CR






Bobby Joe Vincent, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF BASTROP COUNTY, 21ST JUDICIAL DISTRICT


NO. 9967, HONORABLE H. R. TOWSLEE, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



A jury found appellant Bobby Joe Vincent guilty of possessing less than one gram
of cocaine.  Tex. Health &amp; Safety Code Ann. § 481.115(a), (b) (West Supp. 2003).  The court
assessed punishment at incarceration in state jail for two years.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573
S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex.
Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, who was advised of his
right to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.


Counsel's brief draws the Court's attention to an error in the judgment that does not
affect the conviction.  The judgment erroneously states that appellant pleaded guilty pursuant to a
plea bargain.  In fact, there was no plea bargain and appellant pleaded not guilty.  The judgment of
conviction is modified to so reflect.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

As modified, the judgment of conviction is affirmed.



				                                                                                   

				David Puryear, Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Modified and, as Modified, Affirmed

Filed:   July 24, 2003

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